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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                              CRIMINAL NO. 1:21-CR-43
                                                                  (KLEEH)
 JOENELL L. RICE,

                Defendant.


     MEMORANDUM OPINION AND ORDER DENYING MOTION TO DISMISS [ECF NO.
          47] AND GRANTING MOTION TO QUASH SUBPOENA [ECF NO. 60]

         On May 20, 2022, the day of the pretrial conference, Defendant

 Joenell      L.   Rice   (“Defendant”)      filed   a   motion   to   dismiss   the

 Indictment, asserting that the Government presented false and

 misleading testimony to the grand jury.             The Court heard arguments

 on the issue during the pretrial conference and received exhibits.

 The parties confirmed that Brandon Flower, the lead Assistant

 United       States   Attorney   on   the   case,   had   been   served   with   a

 subpoena.1

         On May 23, Defendant filed a memorandum in law in support of

 the motion to dismiss.            The same day, the Government filed a

 response in opposition and a motion to quash the subpoena.                      The

 Court scheduled an evidentiary hearing on the motion to dismiss



 1 Defendant’s counsel sought testimony from Mr. Flower to establish that he had
 viewed certain video footage before presenting the matter to the grand jury.
 As discussed below, counsel believed that the video evidence was diametrically
 opposed to the testimony presented to the grand jury.
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 for May 25.     As the Court discussed with the parties during the

 hearing on May 25, and for the reasons discussed herein, the motion

 to dismiss is DENIED and the motion to quash is GRANTED.

                            I.     THE INDICTMENT

        On September 8, 2021, the grand jury returned a two-count

 Indictment, charging Defendant, who was an inmate at United States

 Penitentiary      Hazelton      (“Hazelton”),       with     (I)   Voluntary

 Manslaughter, in violation of 18 U.S.C. §§ 7(3) and 1112(a) & (b);

 and (II) Assault Resulting in Serious Bodily Injury, in violation

 of 18 U.S.C. §§ 7(3) and 113(a)(6).             The Government alleges that

 Defendant assaulted and killed his cellmate, “D.G.,” in the Special

 Housing Unit (“SHU”) by striking him in the head multiple times.

 Defendant has indicated that he plans to assert a claim of self-

 defense.

                          II.    FACTUAL BACKGROUND

        The Government’s theory is that the manslaughter and assault

 took   place   within   Defendant’s       SHU   cell.   In   discovery,   the

 Government produced a video containing surveillance footage from

 the hallway outside of the cell.          Defendant asserts that the video

 footage and a correctional officer statement from May 2022 are

 diametrically opposed to the testimony presented to the grand jury

 in September 2021.

        Correctional Officer Patrick Reamy (“Reamy”) filled out a

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 report on October 20, 2017, the day of the incident.                Special

 Investigative Services Technician Jason Barclay (“Barclay”) was

 the only individual to testify to the grand jury, and his testimony

 was based, in part, on Reamy’s report.          The following undisputed

 timeline guides the Court:

         September 8, 2021.      The grand jury returned the
          Indictment.   The grand jury was presented with the
          following testimony from Barclay:

             Q.    And did he see the beginning of that incident?

             A.    He did.

             Q.    And immediately prior to the assault occurring,
                   was he speaking with Inmate Rice?

             A.    Yes, I believe so.

             Q.    The assault, was it unprovoked?

             A.    Unprovoked, yes.

             Q.    So Inmate Rice just turned and started striking
                   Inmate Gentry in the face?

             A.    Correct.

         January 12, 2022. The Government produced its initial
          Rule 16 discovery disclosure to counsel for Defendant.
          The disclosure included Reamy’s report and the video
          footage.

         May 5, 2022. The parties spoke about a possible plea
          resolution. Counsel for Defendant expressed his belief
          that the video contradicted statements in Reamy’s report
          concerning the initial moments of the assault. Counsel
          for Defendant proposed a plea agreement to involuntary
          manslaughter, and counsel for the Government advised
          that he would consider it.

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            May 11, 2022.    Counsel for the Government spoke with
             Reamy on the telephone. Barclay was with Reamy at the
             time.  Counsel did not advise Reamy about Defendant’s
             counsel’s concerns. Counsel questioned Reamy about his
             recollection   of   the  incident.     Reamy  provided
             information about the initial moments of the assault
             that was not consistent with his report.

             In pertinent part, during the telephone conversation,
             Reamy stated that he walked to the next cell to serve
             lunch trays, heard commotion, and went back to
             Defendant’s cell. When he looked inside the cell, he
             saw Defendant standing over D.G., striking him. This is
             inconsistent with his original report, which indicated
             that he saw the beginning of the alleged assault.

            May 19, 2022. Counsel for the Government sent a Brady 2
             email to Defendant’s counsel containing a summary of the
             telephone interview with Reamy.

            May 20, 2022.       Defendant filed the motion to dismiss.

           Central   to   this   dispute   is   the   content   of   the   video

 footage.       Defendant contends that it would be impossible for a

 prosecutor to watch the video and believe that the testimony

 presented to the grand jury was truthful.               After reviewing the

 video multiple times, the Court disagrees.

           The video shows Reamy walking down the hallway, delivering

 food to cells in the SHU.           He places food in Cell 113, which is

 Defendant’s cell.         He then moves to the next cell, which is, at

 most, a few feet away.           Reamy then returns to Defendant’s cell




 2   Brady v. United States, 373 U.S. 83 (1963).

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 and interacts with someone in the cell.             Reamy again moves to

 the adjacent cell, but while delivering food to the adjacent

 cell, he repeatedly looks back at Cell 113.              He then radios for

 help, and multiple correctional officers respond.                 OC spray is

 deployed.     Defendant is handcuffed and removed from the cell.

 D.G. is then dragged from the cell, apparently unconscious.

                           III. MOTION TO DISMISS

         Pursuant to 18 U.S.C. § 1621, an individual is guilty of

 perjury if he,

             having taken an oath before a competent
             tribunal, officer, or person, in any case in
             which a law of the United States authorizes an
             oath to be administered, that he will testify,
             declare, depose, or certify truly, or that any
             written testimony, declaration, deposition,
             or certificate by him subscribed, is true,
             willfully and contrary to such oath states or
             subscribes any material matter which he does
             not believe to be true[.]

 An individual is also guilty of perjury if he, “in any declaration,

 certificate,      verification,    or       statement     under     penalty     of

 perjury . . . willfully subscribes as true any material matter

 which he does not believe to be true[.]”           Id.    Further, “[w]hoever

 under oath . . . in any proceeding before or ancillary to any court

 or grand jury of the United States knowingly makes any false

 material declaration or uses other information, including any

 book,    paper,   document,   record,       recording,   or   other   material,


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 knowing the same to contain any false material declaration,” has

 committed a federal crime.       18 U.S.C. § 1623(a).

       It is axiomatic that a defendant is denied due process when

 the prosecution knowingly uses perjured testimony or allows untrue

 testimony to go uncorrected.         See Giglio v. United States, 405

 U.S. 150, 153-54 (1972).        “Perjured testimony is an obvious and

 flagrant affront to the basic concepts of judicial proceedings.

 Effective restraints against this type of egregious offense are

 therefore imperative.”      United States v. Mandujano, 425 U.S. 564,

 576 (1976).     When a defendant shows (1) that the testimony was

 false; (2) that the prosecution knew the testimony was false; and

 (3) that the testimony was material, that defendant’s right to due

 process has been impermissibly aggrieved.           See Creel v. Johnson,

 162 F.3d 385, 391 (5th Cir. 1998).

       When the perjury occurs in the context of a grand jury

 proceeding, dismissal of an indictment can be the appropriate

 remedy.     See United States v. Williams, 504 U.S. 36, 46 n.6

 (listing a violation of 18 U.S.C. § 1623 is an example of an action

 that would justify dismissal of an indictment).             “To be sure, a

 violation must be clearly established before dismissal may be

 contemplated.”     United States v. Mechanik, 475 U.S. 66, 75 (1986)

 (O’Connor, J., concurring in judgment).

       The district court may not dismiss an indictment for errors

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 in   grand   jury   proceedings    unless   the   errors   prejudiced    the

 defendant.     Bank of Nova Scotia v. United States, 487 U.S. 250,

 255–56 (1988).      The prejudicial inquiry must focus on whether the

 violations had an effect on the grand jury’s decision to indict:

 dismissal is appropriate “only ‘if it is established that the

 violation substantially influenced the grand jury’s decision to

 indict,’ or if there is ‘grave doubt’ that the decision to indict

 was free from the substantial influence of such violations.”             Id.

       In Costello v. United States, the Supreme Court held that

 defendants may not “challenge indictments on the ground that they

 are not supported by adequate or competent evidence.”              350 U.S.

 359, 363–64 (1956).      The Court explained,

              If indictments were to be held open to
              challenge on the ground that there was
              inadequate or incompetent evidence before the
              grand jury, the resulting delay would be great
              indeed. The result of such a rule would be
              that before trial on the merits a defendant
              could always insist on a kind of preliminary
              trial to determine the competency and adequacy
              of the evidence before the grand jury. This
              is not required by the Fifth Amendment.     An
              indictment returned by a legally constituted
              and unbiased grand jury, like an information
              drawn by the prosecutor, if valid on its face,
              is enough to call for trial of the charge on
              the merits.    The Fifth Amendment requires
              nothing more.

 Id. at 363.

       The Court finds, as it stated during the hearing on May 25,


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 that the video does not create an impossibility that the grand

 jury testimony was truthful.         The video is subject to multiple

 interpretations, one of which is that Reamy could see what was

 occurring in Cell 113 when the alleged assault began.                        Reamy

 continued to turn his head toward Cell 113 when he had moved to

 the adjacent cell.        The adjacent cell was also in very close

 proximity to Cell 113.       Defendant’s counsel has much to work with

 on cross examination, to be sure, but it is not a foregone

 conclusion that Reamy could not see the alleged assault.                   Reamy’s

 inconsistent     statement    on   May       11,   2022,    is   further    cross-

 examination fodder for Defendant’s counsel.                This statement, eight

 months after the grand jury indicted Defendant and over four years

 after Reamy wrote his incident report, does not prove that the

 prosecutor knowingly provided false information to the grand jury.

 The Court finds no clear violation by the prosecutor that would

 warrant dismissal of the Indictment.

       In addition, the Court finds that the grand jury would have

 had probable cause to indict Defendant on both counts even without

 Barclay’s testimony regarding the beginning of the incident.                   The

 Government presented evidence to the grand jury that Defendant did

 not stop striking D.G. after D.G. was unconscious on the ground;

 that Defendant failed, until OC spray was deployed, to comply with

 officers’ orders instructing him to stop; that Barclay overheard

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 Defendant say that he could not live with D.G. because he was a

 “homo”; that at USP Allenwood, Defendant claimed that he only

 struck D.G. twice; and that the Bureau of Prisons found no evidence

 of reports by Defendant of threats from D.G.

       Defendant has not established that Barclay’s testimony about

 the beginning of the incident substantially influenced the grand

 jury’s decision to indict.         See Bank of Nova Scotia, 487 U.S. at

 255–56.     The Court does not have grave doubt that the decision to

 indict was free from any substantial influence of the testimony.

 See id.      Because the grand jury had probable cause to charge

 Defendant     regardless,    Defendant          was   not     prejudiced    by   the

 testimony relating to the beginning of the incident.                     The motion

 to dismiss is denied because there was no clear violation by the

 prosecutor,    and   even   if    there       were,   it    was   not   sufficiently

 prejudicial to warrant dismissal of the Indictment.

                             IV.   MOTION TO QUASH

       Given that the Court has denied the motion to dismiss, and

 Mr. Flower’s testimony was unnecessary in reaching that decision,

 the Court finds that the subpoena for Mr. Flower is unreasonable

 and oppressive pursuant to Rule 17(c)(2) of the Federal Rules of

 Criminal Procedure and grants the motion to quash the subpoena.




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                               V.    CONCLUSION

        For the reasons discussed above, and for the reasons discussed

  during the hearing on May 25, the motion to dismiss is DENIED [ECF

  No. 47], and the motion to quash is GRANTED [ECF No. 60].             It is

  so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record.

        DATED: May 27, 2022



                                     ____________________________
                                     THOMAS S. KLEEH, CHIEF JUDGE
                                     NORTHERN DISTRICT OF WEST VIRGINIA




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